
On November 2, 1874, the judgment was affirmed in the following opinion :

Per Curiam.

It is made the duty of the lien claimant by the act of April 8th, 1868, P. Laws 753, to file a statement of his claim or demand verified by affidavit.
Clearly the affidavit is as essential to comply with the law, as the statement itself, unless waived by the subsequent conduct of the defendant. But of such a waiver there is no evidence. The plea expressly sets up the want of the affidavit as a special defense. The question before us is not upon the sufficiency of the affidavit of defense, but of the statement as the means of protecting the lien. We cannot, therefore, raise a constructive waiver out of the affidavit of defence, when the party has already expressly pleaded the defect. Judgment affirmed.
